      Case 2:12-cr-00105-WFN          ECF No. 105   filed 03/08/13   PageID.322 Page 1 of 1




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 5                          UNITED STATES DISTRICT COURT
 6                       FOR THE DISTRICT OF WASHINGTON
 7
 8 UNITED STATES OF AMERICA,                         No. CR-12-105-WFN-1

 9                       Plaintiff,                  ORDER DENYING MOTION TO
10                                                   MODIFY CONDITIONS OF
     vs.                                             RELEASE (ECF NO. 104)
11
12 RICHARD ALAN ROSIO,
13
                         Defendant.
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15         Before the court is Defendant’s Motion to Modify Conditions of Release.
16   Defendant was initially detained after arrest.        On November 2, 2012, after a
17   hearing, the court entered an Order Granting Unopposed Motion for Release. That
18   Order contained several conditions, including the condition that Defendant remain
19   at home on GPS monitoring. (ECF No. 62, condition 29.) Defendant has been on
20   release since that time and has met all conditions of pretrial release.
21         Defendant has a lengthy criminal history, including failures to comply. The
22   Motion, ECF No. 104, is DENIED.
23         IT IS SO ORDERED.
24         DATED March 8, 2013.
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26                             S/ CYNTHIA IMBROGNO
                         UNITED STATES MAGISTRATE JUDGE
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     ORDER DENYING MOTION TO MODIFY CONDITIONS OF RELEASE - 1
